

People v Montalvo (2022 NY Slip Op 01276)





People v Montalvo


2022 NY Slip Op 01276


Decided on March 01, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 01, 2022

Before: Gische, J.P., Oing, Kennedy, Mendez, Shulman, JJ. 


Ind. No. 1127/18 Appeal No. 15395 Case No. 2019-875 

[*1]The People of the State of New York, Respondent, 
vAxel Montalvo, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Sarah Chaudhry of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Jennifer Westphal of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (James Burke, J.), rendered September 26, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 1, 2022
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








